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                        UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF IOWA



Whiskey River on Vintage, Inc., et al.
                                             CIVIL NUMBER: 4:20-cv-00185-JAJ-HCA
                      Plaintiff(s),

v.                                           JUDGMENT IN A CIVIL CASE
llinois Casualty Company



                      Defendant(s),


       DECISION BY COURT. This action came before the Court. The issues have been
considered and a decision has been rendered.



       IT IS ORDERED AND ADJUDGED:
Defendant's Motion for Judgment on the Pleadings is granted. Judgment is entered in favor of
defendant/counter claimant against plaintiff/counter defendant.
        IT IS HEREBY ORDERED, ADJUDGED AND DECLARED that Governor Kim
Reynolds’s March 17, 2020 proclamation restricting in-person dining at bars and restaurants did
not cause “direct physical loss of or damage” to Plaintiffs’ insured properties within the meaning
of the insurance policy issued to Plaintiffs by Defendant Illinois Casualty Company. Defendant
is not required to pay for Plaintiffs’ alleged losses because Plaintiffs’ claims do not fall within
the policy’s coverage or are otherwise excluded.


Date: December 2, 2020
                                                     CLERK, U.S. DISTRICT COURT


                                                     _____________________________
                                                     By: Deputy Clerk
